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                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              WESTERN DIVISION


UNITED STATES OF AMERICA

vs.                                 NO. 4:02CR00221-003 SWW

MICHAEL GLENN BOGARD


                                    ORDER

      The above entitled cause came on for hearing on petition to revoke the

supervised released previously granted this defendant in the United States

District Court for the Eastern District of Arkansas.       Upon the basis of the

admissions of defendant, the Court found that defendant has violated the

conditions of his supervised release without just cause.

      IT IS THEREFORE ORDERED AND ADJUDGED that the government’s motion is

granted, and the supervised release previously granted this defendant in the

above matter be, and it hereby is, revoked.

      IT IS FURTHER ORDERED that defendant is sentenced to time served with a

special condition that he shall serve SIX (6) MONTHS in home detention with

electronic monitoring.   Defendant shall pay the cost of such monitoring which

will begin as soon as possible under the guidance and direction of the U. S.

Probation Office.

       All terms and conditions previously imposed shall remain in full force

and effect during defendant’s term in home detention.

      After successfully completing the period of home detention, there will be

no additional supervised release to follow.

      IT IS SO ORDERED this 20th day of April, 2006.



                                            /s/Susan Webber Wright

                                            UNITED STATES DISTRICT JUDGE
